        Case 1:19-cr-00444-ILG Document 13 Filed 12/11/19 Page 1 of 1 PageID #: 25
                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK


BEFORE: GLASSER, J.              DATE:    DECEMBER 11, 2019              TIME:   11:30 a.m.


DOCKET #: CR-19-00444 (ILG)                   TITLE: U.S.A. v. Bifalco

COURT REPORTER:   Lisa Schmid                 DEPUTY CLERK: Stanley Kessler

INTERPRETER:                                  AUSA: Elizabeth Geddes - #6430
                                                    Megan Elizabeth Farrell - #6448

DEF'T #1 NAME: Benjamin Bifalco               ATT'Y: Vincent Martinelli, Esq. - Ret.
 Present _ Not Present  On Bond              Present _ Not Present



                              CRIMINAL CAUSE FOR STATUS CONFERENCE

  Case called.

  Defendant present with counsel Vincent Martinelli, Esq.

     AUSA Elizabeth Geddes present for the Government.

  A status conference was held.

   Another status conference was set for 2/20/2020 at 11:00 a.m.

  The period between 12/11/2019 and 2/20/2020 was excluded, for the reasons

      stated on the record and in the interests of justice, from the calculation

      of the Speedy Trial Act time limits.             The findings required by

      18 USC 3161(h)(7)(A) were made on the record.

  The defendant was continued on bond on the present conditions.




TIME:   0/30
